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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                KANSAS CITY DIVISION

ARIC COOPERWOOD, ANTHONY                         )
FELLOWS, and RACHEL FEELOWS,                     )
on behalf of themselves and all others           )
similarly situated,                              )
                                                 )
              Plaintiffs,                        )
v.                                               )      Case No. 2:25-CV-2267
                                                 )
KDR AP, LLC; KDR REALTY, LLC;                    )
AXIOM PROPERTY MANAGEMENT,                       )
LLC; AXIOM PROPERTY                              )
MANAGEMENT II, LLC; AXIOM                        )
EQUITIES, LLC; and AXIOM FAMILY OF               )
COMPANIES, LLC,                                  )
                                                 )
              Defendants,                        )

                               ENTRY OF APPEARANCE

       Peter L. Riggs and Kersten L. Holzhueter of the law firm of Spencer Fane LLP, hereby

enter their appearance as counsel for Defendants KDR AP, LLC, and KDR Realty, LLC, in the

above captioned case.

                                             SPENCER FANE LLP

                                             /s/ Kersten L. Holzhueter
                                             Kersten L. Holzhueter     KS #24885
                                             Peter L. Riggs,           KS #23523
                                             1000 Walnut Street, Suite 1400
                                             Kansas City, Missouri 64106-2140
                                             (816) 474-8100
                                             (816) 474-3216 (facsimile)
                                             kholzhueter@spencerfane.com
                                             priggs@spencerfane.com

                                             Attorneys for Defendants
                                             KDR AP, LLC and KDR Realty, LLC
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was filed electronically with the United
States District Court for the District of Kansas via the CM/ECF system, with notice of case activity
generated and sent electronically on this 9th day of June 2025, to all counsel of record,

                                                 /s/ Kersten L. Holzhueter
                                                 Attorney for Defendants
                                                  KDR AP, LLC and KDR Realty, LLC




                                                                                          OP 4133085.1
